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 8                         UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11    ANGELA HUTCHESON; SARA                           Case No.: 3:24-cv-1977-JES-MMP
      LAFLER; ALUCARD TAYLOR; KAMA
12
      DELK; ERIN RADCLIFFE; MIKHAILA                   ORDER GRANTING JOINT
13    DIEKMANN; CHELSEA GARDNER;                       MOTION TO STAY CASE PENDING
      ANDREW STARIN; SHARYL YEISLEY;                   MEDIATION
14
      and ERICA NATHAN, individually and on
15    behalf of all others similarly situated,
                                                       [ECF No. 11]
16                                   Plaintiffs,
17    v.
18    VEROGEN, INC. D/B/A GEDMATCH;
      and QIAGEN NORTH AMERICA
19
      HOLDINGS, INC.,
20                                 Defendants.
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 1          Before the Court is the parties’ joint motion to stay the case pending mediation. ECF
 2    No. 11. Good cause appearing, the Court GRANTS the motion and ORDERS that all
 3    deadlines in this case are stayed until March 17, 2025.
 4          IT IS SO ORDERED.
 5    Dated: February 3, 2025
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